                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE


Latin Management Enterprises, LLC
                                                        Plaintiff       Case No.: 3:22−cv−00523
v.
                                                                        Judge Aleta A. Trauger
La Costa Nayarita, Inc., et al.
                                                        Defendant

          NOTICE OF SETTING OF INITIAL CASE MANAGEMENT CONFERENCE

       Pursuant to Local Rule 16.01, notice is hereby given that the initial case management
conference before Judge Trauger is scheduled in the chambers of Judge Trauger, 719 Church Street,
Suite 6325, Nashville, TN, at 01:30 PM on 8/29/2022.


        LEAD TRIAL COUNSEL FOR EACH PARTY IS REQUIRED TO ATTEND THE
INITIAL CASE MANAGEMENT CONFERENCE. Appearance by counsel at the initial case
management conference will not be deemed to waive any defenses to personal jurisdiction. Counsel
should bring their calendars with them to the conference, as deadlines for the progression of the case
and a trial date will be set at that time. Counsel for the plaintiff should notify the courtroom deputy
for Judge Trauger if any of the defendants has not been served prior to the scheduled conference
date.
       Counsel for all parties must, at the initiative of plaintiff's counsel, prepare and submit a joint
proposed initial case management order in the form required by Judge Trauger that encompasses the
discovery plan required by Fed. R. Civ. P. 26(f), addresses any issues that can be resolved by
agreement, and is otherwise in compliance with Local Rule 16.01(f). The proposed initial case
management order shall be filed AT LEAST 3 BUSINESS DAYS PRIOR TO THE
SCHEDULED CONFERENCE. The attached standard provisions are to be included in Judge
Trauger's initial case management orders. Counsel should consult the court's website
(www.tnmd.uscourts.gov) under "Judges" for Judge Trauger's sample initial case management order.

         Pursuant to Fed. R. Civ. P. 26(d), discovery is stayed until the initial case management
conference. Unless exempted by Fed. R. Civ. P. 26(a)(1)(B), all cases are subject to the required
initial disclosure requirements of Rule 26(a)(1).
      PURSUANT TO LOCAL RULE 16.01(e)(2), COUNSEL FOR THE PARTY FILING
THIS LAWSUIT MUST SERVE A COPY OF THIS NOTICE ON THE OTHER PARTIES
TO THIS LAWSUIT, ALONG WITH THE SUMMONS AND COMPLAINT OR WITH THE
REQUEST FOR WAIVER OF SERVICE UNDER FED. R. CIV. P. 4(d), OR WITH THE
SERVICE COPY OF THE NOTICE OF REMOVAL.



                                                                         CLERK'S OFFICE
                                                                         Middle District of Tennessee
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                          STANDARD PROVISIONS TO BE
                         INCLUDED IN JUDGE TRAUGER'S
                      INITIAL CASE MANAGEMENT ORDERS



1. The court has jurisdiction of this case pursuant to ______________________________.
                                                                 (cite statues(s))
  Jurisdiction is ________________________________.
                      (disputed or not disputed)

2. Mandatory initial disclosures. Pursuant to Fed. R. Civ. P. 26(a)(1), all parties must make their
   initial disclosures within 14 days after the initial case management conference [or such other
   deadline as the court approves].
3. Discovery. Discovery is not stayed during dispositive motions, unless ordered by the court.
   Local Rule 33.01(b) is expanded to allow 40 interrogatories, including sub−parts. No motions
   concerning discovery are to be filed until after the parties have conferred in good faith and,
   unable to resolve their differences, have scheduled and participated in a conference telephone
   call with Judge Trauger.
4. Dispositive motions. Briefs shall not exceed 20 pages. No motion for partial summary
   judgment shall be filed except upon leave of court. Any party wishing to file such a motion
   shall first file a separate motion that gives the justification for filing a partial summary
   judgment motion in terms of the overall economy of time and expense for the parties, counsel
   and the court.
  THESE PROVISIONS MUST BE INCLUDED IN ALL INITIAL CASE
  MANAGEMENT ORDERS. THEIR LOCATION WITHIN THE ORDER ARE
  WITHIN THE DISCRETION OF THE LAWYER WHO PREPARES THE ORDER.




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